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IN RE: AUTO BODY SHOP ANTITRUST LITIGATION MDL No. 2557

TRANSFER ORDER

Before the Panel:” Pursuant to 28 U.S.C. § 1407, plaintiffs in all actions move to centralize
this litigation in the Southern District of Mississippi or, alternatively, the Easter District of
Louisiana. The litigation consists of five actions pending in five districts, as listed on Schedule A.
Plaintiffs are principally individual collision repair shops in five states. They allege a conspiracy in
the automobile insurance industry to suppress the reimbursement rates for automobile collision
repairs, in violation of Section | of the Sherman Antitrust Act and various state laws. There are two
potentially related actions — a putative nationwide class action in the Northern District of Illinois
(Crawford) alleging a similar course of conduct by the top insurance carriers in the nation in violation
of federal anti-racketecring laws, and an individual action in the Western District of Louisiana.'

I.

Collectively, there are over 80 insurers named as defendants in the actions, and their positions
With respect to centralization vary significantly? The Allstate companies support centralization in the

 

* Judge John G. Heyburn II, Judge Sarah S. Vance, and Judge Ellen Segal Huvelle took no
part in the decision of this matter.

1 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1 and 7.2.

> The responding defendants are: Allstate Fire and Casualty Insurance Company, Allstate
Insurance Company, Allstate Indemnity Company, Allstate Property and Casualty Company, Allstate
Vehicle and Property Insurance Company, Allstate Property and Casually Insurance Company,
Allstate Corporation, Allstate County Mutual Insurance Company, Allstate New Jerscy Insurance,
Allstate New Jersey Property and Casualty Insurance Company, Esurance Property & Casualty
Insurance Company, and Encompass Indemnity Company (collectively, “Allstate”); Nationwide
Mutual Insurance Company, Nationwide Assurance Company, Nationwide Insurance Company of
Florida, and Nationwide Property and Casualty Insurance Company (collectively, “Nationwide”), 26
companies on the GEICO brief, including 21st Century Centennial Insurance Company, 21st Century
North American Insurance Company, American Family Mutual Insurance, Bristol West Insurance
Company, Direct General Insurance Company of Mississippi, Foremost Insurance Company, GEICO

General Insurance Company, GEICO Indemnity Gan empany, Hartford Accident and Indemnity
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Middle District of Florida and request inclusion of the Crawford putative class action. A group of 26
companies joining in the GEICO brief and four insurers in the Florida action support centralization
in the Middle District of Florida, but oppose inclusion of Crawford. The Nationwide Insurance
companies, 21 companies joining the State Fann brief, and various individually responding insurers
oppose centralization, but alternatively propose the Middle District of Florida or the District of Utah.
Plaintiff in Crawford opposes inclusion in the proposed MDL.

The primary arguments advanced against centralization are that the involvement of many non-
overlapping defendants will give rise to substantial individualized discovery, state-specific issues will
be prominent in cach action, and informal coordination is preferable given the limited number of
actions and involved counsel. We are not convinced that these considerations weigh strongly against
centralization. This litigation involves allegations of a complex anticompetitive conspiracy among
the nation’s leading insurance carriers’ and dozens of regional companies, as well as allegations that
the databases of three third-party information services companies -- ADP, CCC, and Mitchell — played

 

2(...continued)

Company, Hartford Casualty Insurance Company, Hartford Fire Insurance Company, Hartford
Insurance Company of the Midwest, Hartford Property and Casualty Insurance Company, Hartford
Underwriters Insurance Company, Mississippi Farm Bureau Casualty Insurance Co., Security
National Insurance Company, Shelter Gencral Insurance Company, Shelter Mutual Insurance
Company, Travelers Indemnity Company, Travelers Property Casualty Insurance Company, Travelers
Casualty Company of Connecticut, Travelers Indemnity Company of Amcrica, USAA Casualty
Insurance Company, United Services Automobile Association, Zurich American Insurance Company,
and Zurich American Insurance Company of Illinois; 21 companies on the State Farm brief, including
State Farm Mutual Automobile Insurance Company, State Farm Fire and Casualty Company, State
Farm Gencral Insurance Company, Progressive Amcrican Insurance Company, Progressive Casualty
Insurance Company, Progressive Classic Insurance Company, Progressive Direct Insurance
Company, Progressive Gulf Insurance Company, Progressive Hawaii Insurance Company,
Progressive Max Insurance Company, Eric Insurance Company, Erie Insurance Property & Casualty
Company, Sentry Insurance A Mutual Company, Liberty Mutual Insurance Company, Liberty Mutual
Fire Insurance Company, Safeco Insurance Company Of America, Safeco Insurance Company Of
Illinois, State Automobile Mutual Insurance Company, State Auto Property & Casualty Insurance
Company, The Cincinnati Insurance Company, and Indiana Farmers Mutual Insurance Company; and
individually responding insurers ‘Tennessee Farmers Mutual Insurance Company, Western United
Insurance Company, Farm Bureau Property & Casualty Insurance Company, Ocean Harbor Casualty
Insurance Company, Infinity Auto Insurance Company, First Acceptance Insurance Company, Horace
Mann Insurance Company, Florida Farm Bureau General Insurance Company, Florida Farm Bureau
Casualty Insurance Company, Windhaven Insurance Company, Direct General Insurance Company,
and Mercury Insurance Company of Florida.

> Allstate, GEICO, Progressive, State Farm, Liberty Mutual, Nationwide Insurance, and
USAA allegedly are among the nation’s top ten carriers of automobile insurance and are sued in four
or more actions.
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a substantial role in facilitating the alleged scheme. The Panel, in the past, has centralized antitrust
cases involving allegations of concerted anticompetitive activity in the insurance market. See, e.g.,
in re: Blue Cross Blue Shield Antitrust Litig., 908 F. Supp. 2d 1373, 1375-76 (J.P.M.L. 2012).
Transfer under Section 1407 does not require a complete identity of common factual issues or parties
as a prerequisite to transfer, and the presence of additional facts or differing legal theories is not
significant where, as here, the actions still arise from a common factual core. See id. Transfer under
Section 1407 will offer the benefit of placing all related actions before a single judge who can
structure pretrial proceedings to accommodate all parties’ legitimate discovery needs while ensuring
that common witnesses are not subjected to duplicative discovery demands.’

Additionally, the actions are pending in five districts, which will make voluntary coordination
impracticable especially given the large number of involved defendants. In these circumstances,
Section 1407 centralization will ensure streamlined resolution of this litigation to the overall benefit
of the parties and the judiciary.

On the basis of the papers filed and the hearing session held, we find that these actions involve
common questions of fact, and that centralization of the actions on the motion in the Middle District
of Florida will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of the litigation. All actions share common factual questions relating to the allegation ofan
industry-wide conspiracy spearheaded by State Farm to suppress the reimbursement rates applicable
to automobile collision repair shops, including complex issues concerning the role of “direct repair
programs” in furtherance of the alleged scheme.’ Centralization under Section 1407 will eliminate
duplicative discovery; prevent inconsistent rulings on pretrial matters; and conserve the resources of
the parties, their counsel and the judiciary.

Weighing all factors, we have selected the Middle District of Florida as the transferee district
for this litigation. The overwhelming majority of responding defendants support this district as their
first or second choice, and it is casily accessible for this nationwide litigation. Judge Gregory A.
Presnell, to whom we assign this litigation, is an experienced transferee judge who already is familiar
with the factual and legal issues raised by this litigation.

I.

Although several parties ask that we also determine now whether the Northern District of
Ilinois Crawford action should be included in this MDL, we decline to do so. The action was not
included in the motion for centralization, and many parties have not had an opportunity to present
their arguments to the Panel. The arguments concerning transfer of Crawford may be presented as

 

* Thus, we deny the request of defendant Farm Bureau Property & Casualty Insurance
Company for simultancous separation and remand of the claims against it to the District of Utah to
be litigated on its own.

$ In “direct repair programs,” participating businesses allegedly agree to accept certain fixed
rates in exchange for preferred provider status under which they obtain referrals of business.
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an opposition to a conditional transfer order covering the action, ifissued. See Panel Rule 7.1.

IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A and pending outside the Middle District of Florida are transferred to the Middle District
of Florida and, with the consent of that court, assigned to the Honorable Gregory A. Presnell for
coordinated or consolidated pretrial proceedings.

IT IS FURTHER ORDERED that the request of the Farm Bureau Property & Casualty
Insurance Company for separation and remand of certain claims to the District of Utah is denied.

PANEL ON MULTIDISTRICT LITIGATION

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(J Marjorie O. Rendell °
Acting Chairman

Charles R. Breyer Lewis A. Kaplan
R. David Proctor
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IN RE: AUTO BODY SHOP ANTITRUST LITIGATION MDL No. 2557

SCHEDULE A

Middle District of Florida

A & E AUTO BODY, INC., ET AL. v. 21ST CENTURY CENTENNIAL INSURANCE
COMPANY, ET AL., C.A. No. 6:14-00310

Southern District of Indiana

INDIANA AUTOBODY ASSOCIATION, INC., ET AL. v. STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY, ET AL., C.A. No. 1:14-00507

Southern District of Mississippi

CAPITOL BODY SHOP, INC., ET AL. v. STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, ET AL., C.A. No. 3:14-00012

Western District of Tennessee

BREWER BODY SIIOP, LLC, ET AL. v. STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, ET AL., C.A. No. 2:14-02286

District of Utah

ALPINE STRAIGHTENING SYSTEMS, ET AL. v. STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY, ET AL., C.A. No. 2:14-00261
